                              UNITED
              USCA Case #22-5277     STATES
                                  Document    COURT OF Filed:
                                           #1974449    APPEALS11/21/2022                                                Page 1 of 1
                                              DISTRICT OF COLUMBIA CIRCUIT
                                                         333 Constitution Avenue, NW
                                                          Washington, DC 20001-2866
                                                 Phone: 202-216-7000 | Facsimile: 202-219-8530




                                                   CIVIL DOCKETING STATEMENT
                                All Cases Other than Administrative Agency Cases (To be completed by appellant)
 1. CASE NO. 22-5277                                      2. DATE DOCKETED: 10/20/2022
 3. CASE NAME (lead parties only) End Citizens United PAC       v. Federal Election Commission
 4. TYPE OF CASE:             District Ct -    US Civil     Private Civil  Criminal        Bankruptcy
                              Bankruptcy - if direct from Bankruptcy Court        Original proceeding
 5. IS THIS CASE REQUIRED BY STATUTE TO BE EXPEDITED?                               Yes       No
     If YES, cite statute
 6. CASE INFORMATION:
    a. District Court Docket No.                 Bankruptcy Court Docket No.               Tax Court Docket No.
        Civil Action 1:21-cv-02128-RJL           Bankruptcy                                Tax
        Criminal                                 Adversary
        Miscellaneous                            Ancillary
   b. Review is sought of:
          Final Order          Interlocutory Order appealable as of right    Interlocutory Order certified for appeal
   c. Name of judge who entered order being appealed:
        Judge Richard J. Leon                               Magistrate Judge
   d. Date of order(s) appealed (use date docketed): 09/16/2022                            e. Date notice of appeal filed: 10/20/2022
   f. Has any other notice of appeal been filed in this case?                          Yes     No    If YES, date filed:
   g. Are any motions currently pending in trial court?     Yes                        No     If YES, date filed:
       If YES, identify motion
   h. Has a transcript of proceedings been ordered pursuant to FRAP 10(b)?               Yes        No
      If NO, why not?   The  ruling under review was decided on the pleadings so no transcript is necessary.
    i. Has this case been before the Court under another appeal number?           Yes Appeal #                      No
    j. Are any cases involving the same underlying order or, to counsel's knowledge, involving substantially the same
       issue, currently pending before the District Court, this Court, another Circuit Court, or the Supreme Court?
          Yes       No If YES, give each case's court and case name, and docket number:

   k. Does this case turn on validity or correct interpretation or application of a statute?        Yes       No
      If YES, give popular name and citation of statute Federal Election Campaign Act of 1971, 52 U.S.C. 30101 et seq.
   7. Have the parties attempted to resolve issues in this case through arbitration, mediation, or another alternative for
      dispute resolution?    Yes        No If so, provide program name and participation dates

   Signature /s/ Kevin P. Hancock                           Date 11/21/2022
   Name of Party End Citizens United PAC
   Name of Counsel for Appellant/Petitioner Kevin P. Hancock
   Address CLC Action, 1101 14th St. NW, Ste 400, Washington, DC 20005
  Phone ( 202 )        736-2200            Fax ( 202 )      736-2222
                                                        ATTACH A CERTIFICATE OF SERVICE
Note: If counsel for any other party believes that the information submitted is inaccurate or incomplete, counsel may so advise the Clerk within 7
      calendar days by letter, with copies to all other parties, specifically referring to the challenged statement. Attach a certificate of service to
      this form.
         USAC Form 42
         August 2009 (REVISED)
